          Case 3:17-cv-06973-RS Document 79 Filed 10/03/18 Page 1 of 4




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 2     Including Professional Corporations
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 8
     Attorneys for Defendants and Counterclaimants
 9 AURYC, INC., JINLIN WANG, FENG SHAO, and
     AMOD SETLUR
10
11                                UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13
14
     FORESEE RESULTS, INC. a Delaware                    Case No. 3:17-cv-06973-RS
15 Corporation; ANSWERS CORPORATION, a
     Delaware Corporation,                               JOINT STIPULATION FOR
16                                                       ADJOURNMENT OF HEARING DATE
17           Plaintiffs and Counterclaim Defendants,     AND CASE MANAGEMENT
                                                         CONFERENCE; AND PROPOSED
18           v.                                          ORDER

19 AURYC, INC., a Delaware Corporation, also
     known as AURYC, LLC; JINLIN WANG, an                The Hon. Richard Seeborg
20 individual; FENG SHAO, an individual;
                                                         United States District Judge
     AMOD SETLUR, an individual; DOES 1
21
     through 20, inclusive;
22
             Defendants and Counterclaimants.
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     SMRH:488021241.1                                  -1-            STIPULATION FOR ADJOURNMENT
                                                                               AND PROPOSED ORDER
                 Case 3:17-cv-06973-RS Document 79 Filed 10/03/18 Page 2 of 4




 1           Plaintiffs and counter-defendants ForeSee Results, Inc. and Answers Corporation, and
 2 Defendants and counterclaimants Auryc, Inc., Amod Setlur, Jinlin Wang, and Feng Shao have
 3 reached an agreement to settle the claims and counterclaims before the Court in this action. The
 4 parties therefore jointly request that the hearing on Plaintiffs’ motion for a preliminary injunction
 5 and the case management conference currently set for tomorrow, October 4, 2018, at 1:30 p.m.,
 6 be adjourned and vacated. The parties expect to submit joint stipulations for the entry of an
 7 injunction and the dismissal of all claims and counterclaims with prejudice shortly.
 8           IT IS SO STIPULATED.
 9
     Dated: October 3, 2018              SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
10
11                                       By                /s/ James M. Chadwick
                                                          JAMES M. CHADWICK
12                                                      TENAYA M. RODEWALD
                                                             JESSE A. SALEN
13                                             Attorneys for Defendants and Counterclaimants
                                               AURYC, INC., JINLIN WANG, FENG SHAO,
14
                                                            and AMOD SETLUR
15
16 Dated: October 3, 2018                HOWARD & HOWARD ATTORNEYS PLLC
17                                       By                /s/ Andrew M. Grove
18                                                     PATRICK M. MCCARTHY
                                                         ANDREW M. GROVE
19                                                           RYAN A. ELLIS
                                                 Attorneys for Plaintiffs and Counterclaim
20                                              Defendants FORESEE RESULTS, INC. and
                                                      ANSWERS CORPORATION
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     SMRH:488021241.1                                -2-                    STIPULATION FOR ADJOURNMENT
                                                                                     AND PROPOSED ORDER
                 Case 3:17-cv-06973-RS Document 79 Filed 10/03/18 Page 3 of 4



                              ATTORNEY’S E-FILING ATTESTATION
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             As the attorney e-filing this document, and pursuant to Local Rule 5-1(i)(3), I hereby
2
3 attest that counsel for Plaintiff and Counter-defendants ForeSee Results, Inc. and Answers
4 Corporation, whose electronic signature appears above have concurred in this filing.
5 Dated: October 3, 2018                 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
6
                                         By                /s/ James M. Chadwick
7                                                         JAMES M. CHADWICK
                                                        TENAYA M. RODEWALD
8                                                            JESSE A. SALEN
                                               Attorneys for Defendants and Counterclaimants
9                                              AURYC, INC., JINLIN WANG, FENG SHAO,
10                                                          and AMOD SETLUR

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     SMRH:488021241.1                                -3-                    STIPULATION FOR ADJOURNMENT
                                                                                     AND PROPOSED ORDER
                 Case 3:17-cv-06973-RS Document 79 Filed 10/03/18 Page 4 of 4



                                                 ORDER
1
2            Based upon the stipulation of the parties, and good cause appearing therefor, the hearing
3 on Plaintiffs’ motion for a preliminary injunction and the case management conference currently
4 set for October 4, 2018, at 1:30 p.m., are hereby vacated.
5
         10/3/18
6 Dated: __________________
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8                                                     United States District Judge Richard Seeborg
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     SMRH:488021241.1                                -4-                    STIPULATION FOR ADJOURNMENT
                                                                                     AND PROPOSED ORDER
